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                                                                                     EXHIBIT E


    DISTRICT COURT, MESA COUNTY, COLORADO
    Court Address:
    MESA COUNTY JUSTICE CENTER, 125 NORTH SPRUCE STREET, GRAND
    JUNCTION, CO, 81501                                                  DATE FILED: July 20, 2022
                                                                         CASE NUMBER: 2018CV50
    Plaintiff(s) ALYSSA-CHRYSTIE MONTALBANO
    v.
    Defendant(s) JAMES COREY GOODE


                                                                               COURT USE ONLY
                                                                      Case Number: 2018CV50
                                                                      Division: 10      Courtroom:

                              Order:Motion to Transfer Interest and Amend Judgment

    The motion/proposed order attached hereto: GRANTED.




    Issue Date: 7/20/2022




    BRIAN JAMES FLYNN
    District Court Judge




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